                      UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                WESTERN DIVISION

RHONDA BURNETT, JEROD BREIT,                     )
JEREMY KEEL, HOLLEE ELLIS, and                   )
FRANCES HARVEY on behalf of                      )
themselves and all others similarly situated,    )
                                                 )
               Plaintiffs,                       )
                                                 )
v.                                               )    Case No. 4:19-CV-00332-SRB
                                                 )
THE NATIONAL ASSOCIATION OF                      )    Honorable Judge Stephen R. Bough
REALTORS, REALOGY HOLDINGS                       )
CORP., HOMESERVICES OF AMERICA,                  )
INC., BHH AFFILIATES, LLC, HSF                   )
AFFILIATES, LLC, RE/MAX LLC, and                 )
KELLER WILLIAMS REALTY, INC.,                    )
                                                 )
               Defendants.

           DEFENDANT THE NATIONAL ASSOCIATION OF REALTORS’®
               MOTION FOR JUDGMENT AS A MATTER OF LAW

       Defendant The National Association of REALTORS® (“NAR”) moves the Court for an

order granting it judgment as a matter of law under Rule 50(a). Plaintiffs have failed to prove

various elements essential to their claim. Because the jury lacks a legally sufficient basis to find

for Plaintiffs, judgment as a matter of law should be granted in favor of NAR.

       Specifically, judgment as a matter of law is warranted for all the reasons set forth in the

HomeServices Defendants’ Motion for Judgment as a Matter of Law and Keller Williams Realty

Inc.’s Motion for Judgment as a Matter of Law, both of which NAR joins and incorporates.

Additionally—and as explained in the accompanying Suggestions in Support of this Motion—

judgment as a matter of law in favor of NAR is proper under Rule 50(a) because there is “no legally

sufficient evidentiary basis” on which a reasonable jury could find that NAR participated in an




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unlawful agreement actionable under Section 1 of the Sherman Act. Accordingly, the Court should

enter judgment as a matter of law in favor of NAR.

Dated: October 25, 2023                              Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 25, 2023, a copy of the foregoing document was

electronically filed through the ECF system and will be sent electronically to all persons

identified on the Notice of Electronic Filing.


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